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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF WEST VIRGINIA

   IN RE: MONITRONICS INTERNATIONAL,                     No. 1:13-md-02493-JPB-JES
   INC., TELEPHONE CONSUMER
   PROTECTION ACT LITIGATION


   THIS DOCUMENT RELATES TO:

          ALL CASES


               PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL APPROVAL OF
                             CLASS ACTION SETTLEMENT

          Plaintiffs Diana Mey, Phillip Charvat, Jason Bennett, Scott Dolemba, Janet and Michael

   Hodgin move this Court for final approval of the Settlement Agreement reached by the parties in

   this case, and preliminarily approved by this Court on September 28, 2017, Dkt. No. 1122.

          In support of their requests, Plaintiffs assert that the settlement embodied by the

   Settlement Agreement is fair, reasonable and consistent with the provisions of Rule 23. In further

   support of their motion, Plaintiffs refer the Court to the memorandum and exhibits filed

   herewith.

          The Defendant does not oppose this motion. A proposed order is attached as Exhibit A.

   Dated: March 22, 2018
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                                        Respectfully Submitted,


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                                     CERTIFICATE OF SERVICE

          I hereby certify that on March 22, 2018, I electronically filed the foregoing with the Clerk

   of the Court using the CM/ECF system which will send notification of such filing to the

   following:

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          I further certify that I caused foregoing to be mailed by the U.S. Postal Service, from

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